Case 8:18-cv-01009-ODW-KES Document 283 Filed 03/24/21 Page 1 of 2 Page ID #:7455




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  8                     United States District Court
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                        Central District of California
 11   KIMBERLY CUSACK-ACOCELLA, et            Case No. 8:18-cv-01009-ODW (KESx)
 12
      al.,
                                              JUDGMENT
 13                    Plaintiffs,
 14        v.
 15   DUAL DIAGNOSIS TREATMENT
 16   CENTER, INC., et al.,
 17
                       Defendants.
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Case 8:18-cv-01009-ODW-KES Document 283 Filed 03/24/21 Page 2 of 2 Page ID #:7456




  1         In light of the Court’s Order Granting in Part Plaintiffs’ Motion for Attorneys’
  2   Fees, Costs, and Incentive Awards, (ECF No. 282), it is hereby ORDERED,
  3   ADJUDGED, and DECREED that Plaintiffs Kimberly Cusack-Acocella, Scott
  4   Langer, Michael Henry, Janice Smothers, Grace Oudin, Kassi Nye, and Lise Stephens
  5   are AWARDED:
  6          $1,301,741.75 in attorneys’ fees,
  7          $84,118.96 in costs,
  8          $35,000 in incentive awards ($5,000 for each named Plaintiff), and
  9          post-judgment interest as governed by 28 U.S.C. § 1961(a).
 10   These amounts shall be payable by Defendants Allied Benefit Systems, Dual Diagnosis
 11   Treatment Center, Inc. (dba Sovereign Health), and Tonmoy Sharma, jointly and
 12   severally, as set forth in the parties’ settlement agreement. Aside from any amounts
 13   already agreed to among the parties, Plaintiffs shall recover nothing from Defendants
 14   David Tessers and Kevin Gallagher. The Clerk of the Court shall close this case.
 15
 16         IT IS SO ORDERED.
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 18         March 24, 2021              _____________________________________
 19                                             OTIS D. WRIGHT, II
                                           UNITED STATES DISTRICT JUDGE
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